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 6                        UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7
     UNITED STATES OF AMERICA,                            NO. MJ15-502
 8

 9                                 Plaintiff,

10          v.
                                                          DETENTION ORDER
11   GLADYS MORALES-GARIBAY,
12
                                   Defendant.
13

14   Offense charged:
15          Count 1:      Conspiracy to Distribute Controlled Substances
16   Date of Detention Hearing: November 10, 2015
17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
18   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
19
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
20          1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
21                  defendant is a flight risk and a danger to the community based on the nature of
22                  the pending charges. Application of the presumption is appropriate in this case.
23          2.      Defendant is not a United States citizen.
24          3.      Defendant refused to discuss travel, family ties or other connections to Mexico.
25          4.      Defendant is closely related to co-defendant, the alleged head of the Drug
26                  Trafficking Organization, who has resources to get her out of the country.

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     18 U.S.C. § 3142(i)
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           5.    There are no conditions or combination of conditions other than detention that
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                 will reasonably assure the appearance of defendant as required or ensure the
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                 safety of the community.
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           IT IS THEREFORE ORDERED:
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           (1)   Defendant shall be detained and shall be committed to the custody of the
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                 Attorney General for confinement in a correction facility separate, to the extent
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                 practicable, from persons awaiting or serving sentences or being held in custody
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                 pending appeal;
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           (2)   Defendant shall be afforded reasonable opportunity for private consultation with
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                 counsel;
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           (3)   On order of a court of the United States or on request of an attorney for the
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                 government, the person in charge of the corrections facility in which defendant
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                 is confined shall deliver the defendant to a United States Marshal for the
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                 purpose of an appearance in connection with a court proceeding; and
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           (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
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                 counsel for the defendant, to the United States Marshal, and to the United States
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                 Pretrial Services Officer.
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           DATED this 10th day of November, 2015.


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                                                JAMES P. DONOHUE
21                                              Chief United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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